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                      UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF ILLINOIS


LYNK LABS, INC.,                                        )
                                                        )
                       Plaintiff,                       )
v.                                                      )    Civil Action No.: 16-CV-4636
                                                        )
                                                        )
SCHNEIDER ELECTRIC USA, INC.                            )    Hon. Joan B. Gottschall
                                                        )
                       Defendant.                       )
                                                        )
                                                        )
                                                        )


                 DEFENDANTS SCHNEIDER ELECTRIC USA, INC.’S
                UNOPPOSED MOTION FOR AN EXTENSION OF TIME
                WITHIN WHICH TO ANSWER OR OTHERWISE PLEAD


       Defendant Schneider Electric USA, Inc. (“Schneider”) by its undersigned attorneys and

without opposition from Plaintiff, Lynk Labs, Inc. (“Lynk”), respectfully move the Court

pursuant to Federal Rules of Civil Procedure 6(b) and 7, for an extension of ten (10) days of time

within which to answer or otherwise plead to the Complaint, to and including May 27, 2015.

       In support of this Motion, Schneider hereby states:

       1.      Lynk filed its Complaint in this matter on April 25, 2016. (D.I. 1.)

       2.      Lynk filed its Corrected Complaint in this matter on April 26, 2016. (D.I. 8.)

       3.      Schneider accepted service of the Corrected Complaint by electronic mail on

April 26, 2016. Accordingly, the deadline for Schneider to file an answer or otherwise plead is

May 17, 2016. (Id.) Schneider has not requested any prior extensions from the Court.

       4.      Schneider requests the extension to allow additional time to investigate and

prepare a response to the pleadings in this matter.
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       5.     Counsel for Schneider has communicated by email with Braden Tilghman,

counsel for Lynk, who indicated that Lynk does not oppose the requested extension of time to

answer or otherwise plead.

       6.     This request is made in the interests of justice and not for the purposes of delay.



       WHEREFORE, without waiver of Schneider’s claims and defenses, Schneider

respectfully requests that this Court grant its request for an extension of time to answer or

otherwise plead to the Complaint in this cause, to and including May 27, 2016.




                                             Respectfully submitted,
Dated: May 16, 2016                          /s/ Benjamin J. Bradford
                                             Benjamin J. Bradford (IL Bar No. 6285800)
                                             Lisa M. Schoedel (IL Bar No. 6279700)
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                                             Counsel for Schneider Electric USA, Inc.




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                             CERTIFICATE OF SERVICE

      I hereby certify that on May 16, 2016, I caused true and correct copies of MOTION FOR

AN EXTENSION to be served on all counsel of record via the Court’s ECF system.

                                                        /s/ Benjamin J. Bradford




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